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                Exhibit 1
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                                                        (Hearing) Monsanto MDL CMC (Hardemamn v Monsanto Co., et al.) 12/21/2016 9:46:00 AM
                                                                     -                                                                                 -

                                      Pages 1 - 96                             APPEARANCES, CONTINUED:
                    UNITED STATES DISTRICT COURT                               Also for Plaintiffs:
                  NORTHERN DISTRICT OF CALIFORNIA
                                                                                                THE MILLER FIRM, LLC
              BEFORE THE HONORABLE VINCENT CHHABRIA, JUDGE
        IN RE ROUNDUP PRODUCTS                    ) MDL No. 2741                                The Sherman Building
        LIABILITY LITIGATION             ) Case No. 16-MD-2741 VC                               108 Railroad Avenue
                              )                                                                 Orange, Virginia 22960
        EDWARD HARDEMAN,                     )
                                                                                            BY: TIMOTHY A. LITZENBURG, ESQ.
                              )
                Plaintiff,      )                                                               THE LAW OFFICES OF TESFAYE W. TSADIK
                              )                                                                 The California Building
         VS.                    ) Case No. C 16-00525 VC
                                                                                                1736 Franklin Street
                              )
        MONSANTO COMPANY, et al.,               )                                               10th Floor
                              )                                                                 Oakland, California 94612
                Defendants.         )                                                       BY: TESFAYE W. TSADIK, ESQ.
        ___________________________________)
                                                                               For Third Parties Patricia Bledsoe and Texas A&M University:
        EDWARD HARDEMAN,                     )
                              )                                                                 TEXAS ATTORNEY GENERAL'S OFFICE
                Plaintiff,      )                                                               Administrative Law Division
                              )                                                                 300 West 15th Street
         VS.                    ) Case No. MC 16-80232 VC
                                                                                                Austin, Texas 78701
                              )
        MONSANTO COMPANY,                     )                                             BY: KIMBERLY FUCHS, ESQ.
                              )                                                For Defendant Monsanto:
                Defendant.         )
                                                                                                HOLLINGSWORTH LLP
        ___________________________________)
                               San Francisco, California                                        1350 I Street, N.W.
                               Wednesday, December 21, 2016                                     Washington, D.C. 20005
                    TRANSCRIPT OF PROCEEDINGS                                               BY: JOE G. HOLLINGSWORTH, ESQ.
        Reported By: BELLE BALL, CSR 8785, CRR, RDR
                                                                                                ERIC G. LASKER, ESQ.
                Official Reporter, U.S. District Court
        (Appearances, next page)                                                                ROSEMARY STEWART, ESQ. (Telephonic)



                                                                     -                                                                                4

        APPEARANCES:                                                      1    Wednesday - December 21, 2016                    9:46 a.m.
        For Plaintiffs:
                                                                          2                    PROCEEDINGS
                         WEITZ AND LUXENBERG PC
                         700 Broadway                                     3       THE CLERK: Calling case No. 16-MD-2741, In Re: Roundup®
                         New York City, New York 10003                    4    Products Liability Litigation; and 16-CV-525, Hardeman versus
                      BY: ROBIN L. GREENWALD, ESQ.
                         PEARL ROBERTSON, ESQ.                            5    Monsanto Company, et al.; and 16-MC-80232, Hardeman versus
                        ANDRUS WAGSTAFF PC                                6    Monsanto Company.
                         6315 Ascot Drive
                         Oakland, California 94611                        7       Appearances have already been taken.
                      BY: KATHRYN M. FORGIE, ESQ.                         8       THE COURT: Hi, everyone.
                        ANDRUS WAGSTAFF PC
                                                                          9       (Counsel greet the Court)
                         7171 West Alaska Drive
                         Lakewood, Colorado 80226                         10      THE COURT: Should we talk about the motion to quash first?
                      BY: AIMEE H. WAGSTAFF, ESQ.                         11      MS. FUCHS: Yes, Your Honor. That is my motion.
                        ANDRUS ANDERSON LLP
                         155 Montgomery Street                            12      THE COURT: Come on up.
                         Suite 900                                        13      And appearances have been taken, but I haven't heard your
                         San Francisco, California 94104
                      BY: LELAND H. BELEW, ESQ.                           14   name. What's your name?
                         LUNDY LUNDY SOILEAU & SOUTH LLP                  15      MS. FUCHS: Your Honor, my name is Kimberly Fuchs. I'm from
                         501 Broad Street
                         Post Office Box 3010                             16   the Attorney General's office in Texas, and I'm representing
                         Lake Charles, Louisiana 70601                    17   non-parties Bledsoe and Texas A&M University.
                      BY: RUDIE R. SOILEAU, JR., ESQ.
                                                                          18      THE COURT: Welcome to California.
                         BAUM HEDLUND ARISTEI AND GOLDMAN PC
                         12100 Wilshire Boulevard                         19      MS. FUCHS: Thank Your Honor.
                         Suite 950                                        20      THE COURT: And who's going to be arguing this for Monsanto?
                         Los Angeles, California 90025-7106
                      BY: MICHAEL L. BAUM, ESQ.                           21      MR. HOLLINGSWORTH: I am, Your Honor. Joe Hollingsworth.
                         PEDRAM ESFANDIARY, ESQ.                          22      THE COURT: Why don't you go over there (Indicating), since
                         KENNEDY & MADONNA, LLP
                         78 North Broadway                                23   Monsanto is kind of occupying that side of the courtroom. You
                         White Plains, New York 10603                     24   don't want to get too close to them.
                      BY: ROBERT F. KENNEDY, JR., ESQ.
                                                                          25      (Request complied with by Ms. Fuchs)
        (Appearances continued, next page)



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                                                                      (Hearing) Monsanto MDL CMC (Hardemamn v Monsanto Co., et al.) 12/21/2016 9:46:00 AM
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   1      THE COURT: So you all are kind of in an interesting                           1    have all the information that would be helpful for you. But
   2    position here.                                                                  2    it's -- it's because the University is kind of tangential to
   3      MS. FUCHS: We are, Your Honor.                                                3    this whole thing, and we only have the information by virtue of,
   4      THE COURT: Any new developments since the filings?                            4    you know, equipment, essentially.
   5      MS. FUCHS: No, Your Honor. I do have a thumb drive here                       5      THE COURT: Uh-huh. And this subpoena was directed to Texas
   6    (Indicating), with the responsive documents on it, if you would                 6    A&M, not to Dr. Rusyn individually.
   7    like to view them in camera.                                                    7      MS. FUCHS: Yes, Your Honor. Yes, Your Honor.
   8      Other than that, our arguments are essentially the same as                    8      THE COURT: So what you are saying is that on that thumb
   9    what we briefed. I would be happy to orally argue them, or                      9    drive, those are documents that were in Texas A&M's possession
   10   whatever your preference is.                                                    10   because they were emails or documents or whatever that existed
   11     THE COURT: Well, yeah. I mean, I have a couple of                             11   on Texas A&M server's or text A&M's computers.
   12   questions. And I'm just -- I'm pulling up the subpoena, and I'm                 12     MS. FUCHS: Yes, Your Honor.
   13   pulling up the statute.                                                         13     THE COURT: But to the extent that he had, like, a personal
   14     So, I mean, it seems to me that this -- you know, the answer                  14   laptop that he worked from out of his home, and used a personal
   15   to this question turns primarily or maybe entirely on whether                   15   email address or something like that to communicate with IARC
   16   these documents are, in fact, the World Health Organization's                   16   people, that wouldn't be on the thumb drive.
   17   property.                                                                       17     MS. FUCHS: Yes, Your Honor. What we have is University
   18     MS. FUCHS: Yes, Your Honor. That is our understanding.                        18   property, essentially.
   19     THE COURT: But I guess I feel like I have -- we don't have                    19     THE COURT: Okay.
   20   enough. Maybe you also don't have enough information, but I                     20     MS. FUCHS: There are some of the emails in one of the
   21   feel like we collectively, from the filings, don't have enough                  21   categories that came from his -- from a private e-mail address,
   22   information to be able to figure out what, if any of this stuff,                22   but that is by virtue of the fact they were on his University
   23   is the World Health Organization's property.                                    23   computer. Whether there are others that were from home, I don't
   24     And I was curious, you know, are there any -- is there                        24   know.
   25   anything -- are there any agreements between -- what's the name                 25     THE COURT: Uh-huh. So I just -- you know, I find myself



                                                                                  6                                                                                    8

   1    of the doctor?                                                                  1    having, you know, difficulty figuring out what to do in this
   2      MS. FUCHS: Dr. Rusyn.                                                         2    strange situation. I mean, on the one hand, you know, the
   3      THE COURT: Rusyn?                                                             3    subpoena is, you know, ridiculously overbroad. And we can
   4      MS. FUCHS: Yes, Your Honor.                                                   4    certainly narrow the scope of the subpoena. But it's -- that
   5      THE COURT: Is there some, like, agreement between the World                   5    still doesn't help us answer the question what materials are
   6    Health Organization or the IARC and Dr. Rusyn about the use of                  6    subject to immunity. And what materials might not be subject to
   7    documents generated in, you know, connection with his IARC work,                7    immunity.
   8    or ownership of the materials generated in connection with his                  8      I mean, I would think that any -- you know, if there's an
   9    IARC work?                                                                      9    email exchange between Dr. Rusyn and his, you know, IARC
   10     MS. FUCHS: Your Honor, not that I have in my possession.                      10   compatriots, or the other scientists around the world who were
   11   But another interesting thing about this is that Dr. Rusyn did                  11   part of this project of evaluating glyphosate, and they were
   12   this work not as part of the faculty of Texas A&M, but in his                   12   exchanging drafts of the monograph or opinions about what should
   13   individual capacity. And so the documents that we have, we're                   13   be in the monograph, I mean, I think it's probably fairly safe
   14   not really the custodian of any of these documents. This is --                  14   to assume that that is IARC property, and that would be immune
   15   they're in the University's possession, solely because he                       15   from disclosure.
   16   performed some of the work on his computer at the University and                16     MS. FUCHS: Yes, Your Honor.
   17   using his University e-mail address.                                            17     THE COURT: On the other hand, you know, if he sent an email
   18     And so, I don't represent Dr. Rusyn, because as -- the Texas                  18   to someone else who was not part of the IARC group about the
   19   Attorney General's office represents state agencies and state                   19   work that IARC was doing, you know, and expressing an opinion
   20   employees only when they're acting in their official capacity as                20   about, you know, the quality of the work that IARC was
   21   a University employee. And because did he this in his -- you                    21   performing or whatever, my guess is that probably wouldn't be
   22   know, did this individually, I don't represent him.                             22   IARC property.
   23     THE COURT: Hm.                                                                23     Have you done a review of the materials such that you are
   24     MS. FUCHS: So it's -- again, we are in kind of an                             24   able to break it down, something along the lines of what I'm
   25   interesting situation here. I feel like I don't necessarily                     25   describing?




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   1       MS. FUCHS: Yes, Your Honor. And actually, on this thumb                     1    it appears not to be directly relevant to this litigation.
   2    drive you will see that there are three different folders. And                 2    Although I'm not sure, because I'm only tangentally involved
   3    one is labeled "WHO." And those are communications with the                    3    here. And --
   4    World Health Organization.                                                     4      THE COURT: Congratulations.
   5       The other is -- is labeled "JMPR." And what that is, what                   5      MS. FUCHS: Thank you.
   6    that stands for is a joint meeting on pesticide residues. And                  6      THE COURT: Does the other folder include stuff on
   7    what that is it's an ad hoc body that's a collaboration between                7    glyphosate that wasn't done in connection with the IARC work?
   8    the United Nations and the World Health Organization. They meet                8      MS. FUCHS: I don't think so. I'm not -- there are some
   9    every year; they've been meeting every year.                                   9    things that might be. I'm not sure. It's a fairly large group
   10      THE COURT: What is it called, again?                                        10   of documents. And some of the stuff does appear to be published
   11      MS. FUCHS: Joint Meeting on Pesticide Residues.                             11   stuff on that.
   12      THE COURT: Okay.                                                            12     I'm not sure -- I don't remember seeing any communications
   13      MS. FUCHS: They've been meeting every year since 1963.                      13   with parties that were not the World Health Organization, but
   14      THE COURT: And it's an organization who -- describe the                     14   were on that research that they essentially did for the World
   15   organization again.                                                            15   Health Organization. But I'm not sure.
   16      MS. FUCHS: It's an ad hoc body that's a collaboration                       16     And again, I have a pretty limited understanding of this
   17   between the United Nations and the World Health Organization.                  17   whole --
   18   And their purpose is apparently to study, like, pesticide                      18     THE COURT: Uh-huh. Well, I mean, Dr. Rusyn should be able
   19   residues in the food source or in the food chain. And so that                  19   to help you with that, right?
   20   is what presumably would be protected by the same privilege.                   20     MS. FUCHS: Yes, Your Honor. And I talked to the University
   21   That's in a separate folder.                                                   21   about it, and they are happy to reach out to Dr. Rusyn. If the
   22      THE COURT: So are you saying that the folder -- so you were                 22   -- you know, if this is something that we need to, I guess,
   23   saying that the WHO folder represents communications with the                  23   explore more and see, you know, whether these communications
   24   WHO?                                                                           24   that aren't directly what the World Health Organization are
   25      MS. FUCHS: Yes, Your Honor.                                                 25   about, are about the research, we're happy to reach out to him



                                                                                10                                                                                   12

   1       THE COURT: And the JMPR folder represents communications                    1    and get more information from him.
   2    with this ad hoc working group?                                                2      I believe that he did cooperate with the University in
   3       MS. FUCHS: Yes, Your Honor.                                                 3    getting the documents together and so forth. And, you know, I
   4       THE COURT: Okay. Got it.                                                    4    don't think it would be a problem to have -- to go through with
   5       MS. FUCHS: And then there is a third folder in there. And                   5    him and figure out exactly, if we can get some contours from the
   6    that folder is labeled "Other." And that's where it gets a                     6    Court of exactly what we need to look for that should be
   7    little bit more difficult, I think, than --                                    7    released.
   8       (Reporter interruption)                                                     8      THE COURT: Uh-huh.
   9       MS. FUCHS: There's a third folder and it's labeled "Other."                 9      MS. FUCHS: I don't think it would be a problem to go to him
   10   And that's where it gets a little bit more difficult with                      10   and work with him to get that information.
   11   regards to the privilege.                                                      11     THE COURT: Is there anything more we can do to educate
   12      There are some things in there that it's not clear, you                     12   ourselves on, you know, the degree to which or the extent to
   13   know, exactly whether the privilege would apply. Some of the                   13   which these communications, say, in the first two folders, are
   14   things appear that they might not be relevant, that they might                 14   considered -- let's take the first folder, to make it a little
   15   be -- because the subpoena was so broad that they're, you know,                15   easier.
   16   that they're brought in under that.                                            16     Is there -- is there anything more we can do to educate
   17      There are also documents in there that appear to be                         17   ourselves on the extent to which that material should be
   18   published articles. And our position would be if they are in                   18   considered the World Health Organization's property?
   19   the public domain, then they would be public. Even if -- you                   19     MS. FUCHS: Your Honor, the World Health Organization's
   20   know, even if there are articles by the World Health                           20   position has been that any communications with them, regardless
   21   Organization, if they published them, they're public.                          21   of whether they are on point about the research, whether they're
   22      So, the other category is more of a combination of things                   22   about traveling to Europe for meetings, their position is that
   23   that we're not exactly sure where it comes in. I'm confident                   23   they all fall under this umbrella.
   24   that at least some of that stuff can be released because, as I                 24     THE COURT: But -- their position is that they all fall
   25   said, a lot of it appears to be things that are public. Some of                25   under this umbrella. But is their position that it's all their




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                                                                                 13                                                                                   15

   1    property?                                                                       1      MS. FUCHS: Yes, Your Honor.
   2      MS. FUCHS: Yes, Your Honor. That's their position.                            2      THE COURT: All right. Maybe I could hear a little from
   3      THE COURT: So, like, what is that based on? Do they have                      3    Monsanto now on this.
   4    any contemporaneous evidence that they -- it was established                    4      And maybe the first question we could talk about is, I mean,
   5    that these types of things would be considered the World Health                 5    what's your -- what's your argument for why communications
   6    Organization's property?                                                        6    between Rusyn and other scientists in this working group about,
   7      I mean, I was -- I would have to think that, you know, if                     7    like, the content of drafts and stuff is not -- should not be
   8    the World Health Organization is entering into this arrangement                 8    privileged?
   9    with scientists all over the globe to study, you know, a                        9      MR. HOLLINGSWORTH: Your Honor, they -- we have several
   10   substance, and prepare a monograph on it, you know, there would                 10   arguments about that. Let me tell you what those arguments are.
   11   be some sort of contract that the World Health Organization                     11     First of all, there is no contract that we know of,
   12   would have these scientists sign to establish the sort of                       12   whatsoever, involving Dr. Rusyn or anybody else that we know of
   13   boundaries of their relationship.                                               13   who was on this panel. We -- because the complaints contain 35
   14     You don't have any contract along those lines? Did you ask                    14   paragraphs that rely on IARC, purportedly to show that there's a
   15   Dr. Rusyn if he had a contract? Did you ask the World Health                    15   basis for the proposition that --
   16   Organization if they had a contract governing this relationship?                16     THE COURT: That's not relevant to whether these documents
   17     MS. FUCHS: Your Honor, I was -- I was not on this case in                     17   are immune from discovery.
   18   the beginning. I am unaware of any contract. I would imagine                    18     MR. HOLLINGSWORTH: Yes. Yes.
   19   that was probably something that the previous attorney brought                  19     THE COURT: I'm not -- I know that the complaint trumpets
   20   up. I can't imagine that that wouldn't have been attached. But                  20   IARC's conclusion. I'm asking the question about whether these
   21   I'm not entirely sure about that.                                               21   documents are immune from discovery. Immune from subpoena.
   22     I will tell you that it was the original understanding under                  22     MR. HOLLINGSWORTH: My apologies for that, Your Honor.
   23   the first communication with the World Health Organization that                 23     So, as a result of the allegations in the complaint, we
   24   they would be filing something with this Court to protect their                 24   decided to look into who was on the committee, the so-called
   25   own privileges. So this wasn't a position that the University,                  25   "112 Committee," which has about -- probably over 15 members.



                                                                                 14                                                                                   16

   1    you know, expected to be in.                                                    1    Six of those people at least -- maybe more, but we confirmed
   2      And then they sent us a letter after they decided not to,                     2    that six people on that committee did not work for a federal
   3    saying: Don't release it, or you'll be in violation of                          3    agency. Were either private parties, or worked for a state or
   4    international law, and... (Shrugs shoulders)                                    4    -- state institutions, like Dr. Rusyn, who worked for Texas A&M.
   5      (Laughter)                                                                    5    And we decided that we would subpoena them.
   6      THE COURT: Do you have any idea why they didn't file                          6      THE COURT: Just a quick clarification question.
   7    anything? I mean, they're not waiving any privilege by filing                   7      You said that of the 15 or so people, six or so did not work
   8    something in this court.                                                        8    for a federal agency. What's the significance of that
   9      MS. FUCHS: Your Honor, we have no idea why they didn't file                   9    conclusion?
   10   anything. After the phone conversation that my colleague had                    10     MR. HOLLINGSWORTH: If -- there are members of the committee
   11   with them, his understanding was that something would be filed,                 11   who did work for federal agencies in Washington. Four people, I
   12   and it wasn't.                                                                  12   believe. A couple for United States EPA, and two for other
   13     And the followup just generated this letter (Indicating),                     13   federal health agencies.
   14   and telling --                                                                  14     THE COURT: Uh-huh.
   15     THE COURT: Yeah, I read the letter. And the letter is                         15     MR. HOLLINGSWORTH: In that case, there's a case from the
   16   marginally helpful, but not -- you know. And -- you know. I                     16   Supreme Court called Tuohy that requires the parties seeking
   17   think the letter sort of at least creates a presumption in my                   17   information that would otherwise be by subpoena in Federal Court
   18   mind that communications -- the kinds of things in the first                    18   to do so by letter to the Department of Justice, which is what
   19   folder --                                                                       19   we have done for those four people.
   20     MS. FUCHS: Yes.                                                               20     THE COURT: I see. And has the Department of Justice turned
   21     THE COURT: -- and perhaps the second folder are probably                      21   over the documents for those four people?
   22   not subject to subpoena.                                                        22     MR. HOLLINGSWORTH: No, they have not. What they have
   23     MS. FUCHS: Yes, Your Honor.                                                   23   done -- and we are contesting this -- is convert those Tuohy
   24     THE COURT: But it doesn't really help us define the breadth                   24   letters to FOIA requests. Which we disagree with. We think
   25   of the immunity.                                                                25   that is contrary to what the Supreme Court case says.




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                                                                              17                                                                                    19

   1      And we are in discussions with them right now. They haven't                1      And we have received two tranches of that information --
   2    said that they won't turn them over. This is just the                        2    there is nothing in that information -- there is information in
   3    procedural issue right now. And it takes a while to deal with                3    both of these people's files, which I think shows that IARC has
   4    the agencies involved in those cases.                                        4    waived whatever claim of privilege or immunity or property or
   5       But now, we are directly involved with the agencies rather                5    custody or control in this case.
   6    than the Department of Justice, which is where we thought --                 6      THE COURT: Well, there has to be an express waiver. Right?
   7    where we started out, and where we think we should be. So                    7      MR. HOLLINGSWORTH: I think there has to be an express
   8    that's that side of it.                                                      8    waiver for something that is the property of IARC. But I don't
   9       But -- and so, in answering your first question, Your Honor,              9    believe these materials are the property of IARC.
   10   we had these six people that we have subpoenaed. And we have                 10     THE COURT: Okay. All right.
   11   already received responses from three of them, at least three of             11     MR. HOLLINGSWORTH: And I think --
   12   them. One is for one of Dr. Rusyn's counterparts on the animal               12     THE COURT: So I think maybe the accurate way to say it is
   13   tox committee, whose name is Matthew Ross. He is also a Ph.D.,               13   not that there's -- there's -- there are materials which show
   14   at Mississippi State, and he's produced all of his documents                 14   that the IARC has waived the right to keep this stuff
   15   from his work involving the IARC monograph on glyphosate.                    15   confidential, but rather, there's material in there that
   16     And from those documents, we see no indication that any                    16   suggests that it's not IARC's property to protect.
   17   conversation that he's had with people on the committee or in                17     MR. HOLLINGSWORTH: Right. And I brought those files with
   18   connection with his work on the committee is property or assets              18   me. And I'm sorry we haven't had a chance to lay this out for
   19   of IARC. There's no IARC legend; there's no WHO legend.                      19   Your Honor in connection with the motion to compel, which is
   20   There's no contract, as there would be in any case like this                 20   what I thought the next step would be here.
   21   that we've ever been involved in, where we always enter into                 21     So there are things that have happened since the last paper
   22   agreements with consultants before we provide them any kind of               22   that we filed in opposition to this motion to quash, which I
   23   information, making it clear who owns what in cases, and who                 23   thought we would succeed on, frankly, but what do I know?
   24   controls what, has custody and control of what and whatever in               24     So, so we've talked to Dr. Blair; we've worked with
   25   situations likes that.                                                       25   Dr. Blair; we've worked with Dr. Ross. I think they have lots



                                                                              18                                                                                    20

   1       So there's nothing that we know of like that in connection                1    of materials that show that there's a waiver here, and no
   2    with Dr. Ross's materials. And as I said, he worked at                       2    materials showing, that I know, of any kind of confidentiality
   3    Mississippi State. And unlike the situation with Texas, with                 3    or contract right that IARC has. So I don't believe that any of
   4    all due respect, the folks from the Mississippi State Attorney               4    the materials I have seen are IARC property or assets within the
   5    General's office and from Mississippi State University, we were              5    meaning of that statute.
   6    able to reach accommodations with them, and we have all those                6      And we haven't subpoenaed IARC for any of that stuff. We
   7    materials.                                                                   7    know about the statute. We haven't subpoenaed employees of
   8      A second person on the list of six --                                      8    IARC, which we could. The lead employee on this monograph is a
   9      THE COURT: Maybe they didn't give any thought to whether                   9    former EPA official who served for many years in that capacity
   10   this immunity applied to production of documents.                            10   then, whose name is Kate Guyton. We haven't subpoenaed her,
   11      MR. HOLLINGSWORTH: They gave express thought to that, Your                11   haven't attempted to.
   12   Honor, and they decided that those materials are not the                     12     But we have subpoenaed these six people. And there is a
   13   property or assets of IARC, which is our position. So we                     13   third person who happens to be currently the head of OEHHA,
   14   respectfully disagree with Your Honor's initial conclusion about             14   which is a California state agency. That's O-E-H-H-A. I think
   15   what the property of IARC would be.                                          15   it stands for the Office of Environmental Health Hazard
   16     There's a second person within the six whose name is                       16   Assessment. I think. Don't quote me on that, but I think that
   17   Dr. Aaron Blair. He spent his whole career in Washington; he's               17   is what OEHHA stands for. And she is in the process -- was in
   18   retired now. My experience with him goes back to the 1970s in                18   the process of producing her documents to us. But my
   19   Washington. He's the former head of NCI, the National Cancer                 19   understanding is that she may have hired an attorney, which the
   20   Institute. And he was the chairman of this IARC committee that               20   other party -- which both Blair and Ross had as well. And we
   21   worked on Monograph 112 involving glyphosate. And he is in the               21   dealt with them. So we will be ready to deal with Dr. Zeiss's
   22   process of producing three tranches of materials to us about his             22   attorney, if and when we can.
   23   connections with the committee and his work on this committee.               23     There is a fourth person on the list of six whose name is
   24     THE COURT: What is his name again?                                         24   Dr. Jameson. He is an independent consultant now, Your Honor,
   25      MR. HOLLINGSWORTH: Aaron Blair, B-L-A-I-R.                                25   who lives in Miami. And we have attempted to contact him. And




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   1    we served a subpoena on him as well. He was involved heavily in                1    with whom IARC has no contract. So, they are people whom IARC
   2    the issue of animal toxicology, which is very important in this                2    has no expectation of confidentiality, Your Honor. In the
   3    case. Because it's the animal toxicology that's the basis on                   3    normal context of that as I understand it, over years and years
   4    which IARC made its determination that glyphosate is a probable                4    of litigation, this issue that would be important under U.S.
   5    human carcinogen. As to the epidemiology, the human data, they                 5    law.
   6    decided that the information was insufficient to make that                     6      So there's no prior expectation that we can find in the
   7    conclusion. So the animal data is key.                                         7    documents we already have that IARC was maintaining ownership of
   8      Jameson's a purported animal data expert, so we subpoenaed                   8    this -- these property and assets, as those terms are used in
   9    him, too. And he was prepared to talk to us about that, and did                9    the statute.
   10   talk to us about that. But later we found out from one of the                  10     THE COURT: What is the --
   11   Plaintiffs' attorneys in this case that he had been hired by the               11     MR. HOLLINGSWORTH: I think the statute -- excuse me.
   12   Plaintiffs to be an expert. So our conversations with him                      12     THE COURT: Sorry. Go ahead.
   13   ceased.                                                                        13     MR. HOLLINGSWORTH: I think the statute is addressed to
   14     But we understand that he turned over all of his materials                   14   attempt to subpoena or work process on assets or property of the
   15   involving the IARC work that he did in the IARC technical review               15   United Nations, okay? And I can understand why the statute is
   16   that he did to the Plaintiff lawyer in this case. And that she                 16   drafted that way. But that's not what this is about.
   17   has Bates stamped those materials, and they are in her                         17     THE COURT: In the documents that you do have from these
   18   possession. So, you know, watch that space, more on that later.                18   other folks, what -- what's in there? Are there, like, drafts
   19   And that's where we are.                                                       19   of the monograph? Or --
   20     But in response to Your Honor's question, we know of no                      20     MR. HOLLINGSWORTH: There are drafts of sections of the
   21   information from all that material so far that shows that there                21   monographs. Each of the six people I named, and a couple of
   22   is an express agreement about confidentiality or a simple                      22   other people, including at least one at US EPA, were responsible
   23   contract that would exist in every single case that I have ever                23   at the outset of this, via a committee that Dr. Rusyn was the
   24   done involving this -- and this is not my first rodeo --                       24   chairman of, for drafting up six or seven sections of the
   25   where -- where one party is working with an outside expert like                25   monograph that were then taken to this meeting of IARC which



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   1    Dr. Rusyn, who the party admits is an independent outside person               1    only lasted eight days in Leon, in 2014 or early 2015.
   2    who's not an employee of IARC. That's expressed from the                       2      And from there, the overall committee, which I said is at
   3    documents as well.                                                             3    least 15 people, worked for eight days with the original drafts
   4      So we don't think --                                                         4    that I think number -- number between four and six subsections,
   5      THE COURT: Well, they don't -- do they -- they don't                         5    based on what I have read so far.
   6    necessarily have to be an employee of the IARC for their                       6      And yes, we do have drafts of some of those. In fact, we
   7    communications with IARC to be IARC property. I mean, that gets                7    have a draft of -- we have an early draft of the entire
   8    back to my first question, which is: Was there any contractual                 8    monograph.
   9    arrangement about who owns the communications in the document?                 9      THE COURT: Have you --
   10     MR. HOLLINGSWORTH: There is no contractual relationship                      10     MR. HOLLINGSWORTH: So I'm hoping you won't require me to
   11   that I know of. There is no regulation that I know of that                     11   give that back to the United Nations. But of course, I will, if
   12   applies to this situation specifically, in my humble opinion.                  12   Your Honor so orders.
   13   There is no statute that applies to this situation specifically.               13     THE COURT: Incidentally, have you provided those documents
   14   These materials that we are --                                                 14   to the other side?
   15     THE COURT: Well, I mean, there is a statute that                             15     MR. HOLLINGSWORTH: No, but we have agreed to do that.
   16   potentially applies to it, depending --                                        16     THE COURT: Okay.
   17     MR. HOLLINGSWORTH: I don't think so, Your Honor. You --                      17     MR. HOLLINGSWORTH: I think that the other side has asked us
   18     THE COURT: Well, it just begs the question whether -- I                      18   for those documents.
   19   mean, you say it doesn't apply because it's not their property.                19     THE COURT: Uh-huh. Now, let me -- going to the subpoena,
   20   Right?                                                                         20   so I guess one question I have is if Dr. Rusyn engaged in some
   21     MR. HOLLINGSWORTH: Well, there are several things that we                    21   sort of communication about glyphosate that was not in
   22   would say. The files that we are concerned with here and that                  22   connection with his work for the IARC. Why would that be
   23   our subpoenas are addressed to -- I'm sorry they're overbroad,                 23   relevant to this case?
   24   and we can narrow them -- are files that are generated by third                24     MR. HOLLINGSWORTH: For example, in several states, several
   25   parties. All third parties. Not employees of IARC. People                      25   big Midwestern states where so much farming is done involving




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   1    corn and soybeans and in which glyphosate is used about                          1       MR. HOLLINGSWORTH: So that's a question involving --
   2    95 percent of the time, I think that would be -- certainly be                    2       THE COURT: That's the same question I asked two minutes
   3    relevant to our consideration in this case.                                      3    ago. Five minutes ago.
   4       THE COURT: Well, why? Why?                                                    4       MR. HOLLINGSWORTH: Right. But my answer referred to the
   5       MR. HOLLINGSWORTH: Well, I think that in the case of                          5    AHS data, which I know that they have talked about, based on
   6    Dr. Rusyn, and in the case of Dr. Blair, by the way, who's an                    6    other things that --
   7    author of the currently-published version of the AHS study,                      7       THE COURT: Yes, but I'm not asking about his communications
   8    there is additional followup information that is being monitored                 8    with other IARC people. Presumably his communications with
   9    and developed right now about what that data shows, specifically                 9    other IARC scientists about glyphosate is in connection with his
   10   about whether or not there's an association between glyphosate                   10   IARC work.
   11   and non-Hodgkin's lymphoma, specifically.                                        11      MR. HOLLINGSWORTH: Yes. Sorry, Your Honor.
   12      THE COURT: Okay, but wait a minute.                                           12      THE COURT: This subpoena --
   13      MR. HOLLINGSWORTH: So I --                                                    13      MR. HOLLINGSWORTH: Okay.
   14      THE COURT: Dr. Rusyn is not -- I presume is not going to be                   14      THE COURT: -- asks for, like, if he would ever, you know,
   15   a witness in this case. Right? He's not going to be testifying                   15   if he ever gave -- if somebody uttered the word "glyphosate"
   16   as an expert.                                                                    16   while they were passing him on the street, you want to know that
   17     And so you are subpoenaeing documents from Dr. Rusyn or from                   17   information.
   18   his university in response to the allegation by the Plaintiffs                   18      MR. HOLLINGSWORTH: If he has not been hired as an expert, I
   19   that -- or in response to reliance by the Plaintiffs on the                      19   see Your Honor's point, in that if he is communicating about
   20   IARC's conclusions.                                                              20   glyphosate with other people who are unconnected to the IARC
   21      If Dr. Rusyn had some conversation with somebody else about                   21   review, which Blair is not, and which the AHS information is
   22   glyphosate that was not in connection with his IARC work, aren't                 22   not, then --
   23   we getting pretty far afield -- and if Dr. Rusyn is not an                       23      THE COURT: Okay, Blair is not one of these people -- he's
   24   expert testifying in this case, aren't we getting pretty far                     24   not one of the IARC scientists?
   25   afield from this case?                                                           25      MR. HOLLINGSWORTH: Blair is. Blair was chairman of the



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   1       It may be that you could -- pursuant to the Texas public                      1    committee that wrote the IARC monograph.
   2    record laws, may or may not be able to get those sorts of                        2       THE COURT: Right, okay.
   3    documents. But this is a subpoena for this case. So what's --                    3       MR. HOLLINGSWORTH: He was the chairman.
   4    I just don't understand the relevance to this case.                              4       THE COURT: So any communications that he has made about
   5       MR. HOLLINGSWORTH: Sure. It's very relevant, Your Honor.                      5    glyphosate that are not in connection with his work that he was
   6    The -- the Working Group 112 looked carefully at the AHS data.                   6    doing for the IARC should not be relevant in this, and should
   7    That is why I used it as an example in my answer to Your Honor's                 7    not be the subject of this subpoena. You agree with that?
   8    question. And I'm pretty sure that there is communication                        8       MR. HOLLINGSWORTH: Well, with some exceptions. We've -- I
   9    between Rusyn and Blair involving that data. The IARC went out                   9    think we have already agreed with that, Your Honor. But because
   10   of its way to look at that data and consider that data. And to                   10   in his --
   11   look specifically, based on that data, because they agree that                   11      THE COURT: Not according to what you're asking for in the
   12   it's the best data in the world about the association between                    12   subpoena.
   13   glyphosate or not and non-Hodgkin's lymphoma. There are 57,000                   13      MR. HOLLINGSWORTH: Well, we had discussions with
   14   people being followed. 57,000 people.                                            14   Dr. Blair's attorney about that. So, we have attempted to limit
   15     And they wanted to know what that material showed, and what                    15   the --
   16   the update is on that material. And I think they're looking for                  16      THE COURT: I'm asking about the subpoena to Dr. Rusyn.
   17   that material. And I think Rusyn and Blair --                                    17      MR. HOLLINGSWORTH: Okay.
   18      THE COURT: So if Rusyn and Blair are communicating about                      18      THE COURT: That they have moved to quash.
   19   that material, that's communication with a cohort in the IARC                    19      MR. HOLLINGSWORTH: Yes.
   20   group. But what about if Rusyn engages in some communication                     20      THE COURT: Okay? And I'm trying to get a sense of what is
   21   with somebody else outside the context of his IARC work about                    21   -- of the vast amount of information that you have sought in
   22   glyphosate? I just don't understand how that is relevant to                      22   this subpoena, what is actually relevant to this litigation? In
   23   this litigation.                                                                 23   other words, I'm trying to work with you to narrow the subpoena
   24      MR. HOLLINGSWORTH: That's a different question.                               24   to something that's remotely reasonable.
   25      THE COURT: That's the question I'm asking.                                    25      MR. HOLLINGSWORTH: Sure.




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   1      THE COURT: I could just, I suppose, quash the subpoena on                     1    maybe I inferred too much from this, but as I understood it,
   2    the ground that it's grossly overbroad.                                         2    it's a project that is separate from the IARC project.
   3      MR. HOLLINGSWORTH: Yes.                                                       3      MS. FUCHS: I believe so, Your Honor. But I'm -- I cannot
   4      THE COURT: Would I have the authority to do that?                             4    tell you that with certainty. I can find out if that's --
   5      MR. HOLLINGSWORTH: Absolutely.                                                5      THE COURT: That's obviously something you would need to
   6      THE COURT: Okay. So what I want to do is get a sense --                       6    work with Dr. Rusyn on, as well.
   7    I'm comparing what you've written in the subpoena to what you're                7      MS. FUCHS: Yes, Your Honor.
   8    saying now. And it seems to be very, very different. Because                    8      THE COURT: Okay. So it may be -- there's still an open
   9    what you're asking for in the subpoena is any time any document                 9    question about the second folder. And if it's related to the
   10   relating to glyphosate was generated by or is in the possession                 10   IARC work, perhaps it would still be, you know, appropriately
   11   of Dr. Rusyn, he has to turn it over.                                           11   covered by the subpoena.
   12     MR. HOLLINGSWORTH: That's overly broad.                                       12     Go ahead.
   13     THE COURT: Okay. So, let's work together on this. What do                     13     MR. HOLLINGSWORTH: Yes. It may still be covered by the
   14   you -- so, shouldn't it be limited -- to the extent that you're                 14   subpoena, Your Honor. If I may --
   15   attacking IARC's conclusion and IARC's methodology, shouldn't it                15     THE COURT: But if it's a separate project from the IARC
   16   at least be limited to work he did for IARC?                                    16   project, --
   17     MR. HOLLINGSWORTH: Yes.                                                       17     MR. HOLLINGSWORTH: Yes, it is. And if I may explain --
   18     THE COURT: And in connection with IARC?                                       18     THE COURT: -- and it -- then it should not, right?
   19     MR. HOLLINGSWORTH: Yes, and --                                                19     MR. HOLLINGSWORTH: Yes. It's A separate project. The JPMR
   20     THE COURT: So doesn't that eliminate a lot of the stuff?                      20   is looking at pesticide residues. And, the JPMR is associated
   21   The other folder in your thumb drive?                                           21   with the WHO, as IARC is associated loosely with the WHO. And
   22     MS. FUCHS: Yes, Your Honor.                                                   22   after IARC made its determination that glyphosate is a probable
   23     THE COURT: If not all of it?                                                  23   human carcinogen, the WHO JPMR said that there's no evidence
   24     MS. FUCHS: Yes, Your Honor. I believe there may be some                       24   that glyphosate is a carcinogen, and therefore set food
   25   relevant documents still in there. There would be these                         25   tolerances for glyphosate that are applicable in Europe. Or,



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   1    published papers that would be -- that we believe are public                    1    rather, they renewed them. Okay. So, so, with that caveat, I
   2    information. Maybe some of them are just saved separately, so                   2    agree with Your Honor.
   3    I'm not sure if they were, you know, passed around in                           3      THE COURT: Okay.
   4    conjunction with, but we're happy to turn that over if that's --                4      MR. HOLLINGSWORTH: It's not directly relevant to our
   5    I mean, if that's something that the (Inaudible)...                             5    question about Dr. Rusyn's work on the IARC committee. It may
   6      (Reporter interruption)                                                       6    be relevant to other aspects of this case. So, so --
   7      MS. FUCHS: That the Defendants are interested in.                             7      THE COURT: Well, I don't know about --
   8      THE COURT: Okay. But that still doesn't resolve the first                     8      MR. HOLLINGSWORTH: -- separate subpoena on that.
   9    folder, and possibly the second folder --                                       9      THE COURT: I mean, you don't have the right to go and
   10     MS. FUCHS: Yes, Your Honor.                                                   10   subpoena every document relating to every conclusion that any
   11     THE COURT: ...which are documents. I mean, I think                            11   person around the globe has come to about glyphosate. Right?
   12   actually probably the second folder we could say the same thing                 12     MR. HOLLINGSWORTH: Right. And we have a pretty good handle
   13   about, that that's not relevant. Because what this subpoena                     13   on the published data. So I'm not so concerned about Folder 3,
   14   should be about is the work that Dr. Rusyn did in connection                    14   either.
   15   with IARC, because you are attacking the IARC.                                  15     THE COURT: Okay. So it seems like we're pretty close. It
   16     So we are down to the first folder now, basically.                            16   sounds like you have a pretty good understanding of the JMPR and
   17     MS. FUCHS: Yes, Your Honor.                                                   17   its relationship to the IARC. And the way you described it, it
   18     THE COURT: Pretty much.                                                       18   sounds like we can pretty much cross out Folders 3 and 2, now.
   19     MR. HOLLINGSWORTH: Your Honor, what is in the second folder                   19   And we are down to Folder 1.
   20   again, please?                                                                  20     MR. HOLLINGSWORTH: With the caveat that we may be -- we may
   21     THE COURT: The second folder is communications relating to                    21   ask Your Honor to enforce a subpoena about the JMPR material at
   22   the joint meeting on pesticide residues?                                        22   some later point in time.
   23     MS. FUCHS: That's correct, Your Honor.                                        23     THE COURT: Okay.
   24     THE COURT: Which is a collaboration between the UN and the                    24     MR. HOLLINGSWORTH: We are making progress.
   25   World Health Organization, which, as I understood it -- and                     25     THE COURT: All right, we're making progress. We are down




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   1    to Folder No. 1. But, of course, that is the folder that, you                    1    folder?
   2    know, that -- where the IARC could potentially make the                          2          MS. FUCHS: I don't necessarily have a great estimate, but
   3    strongest case that that stuff is its property.                                  3    it would probably be several hundred. Because it's a lot of
   4      So I guess my question to you is, you have your argument                       4    emails, in addition to some other forms of communication.
   5    that it's not -- that this stuff is not the IARC's property.                     5          THE COURT: Okay. So not that bad, in terms of reviewing
   6    The World Health Organization apparently believes that it is                     6    it.
   7    IARC's property. I haven't been -- you know, you've got --                       7          MS. FUCHS: Right. I don't believe it would be -- I mean,
   8    you've got your, you know, stacks of documents from other IARC                   8    it might be, you know, 1,000 or maybe even a little more than
   9    people which apparently don't have any -- don't contain any                      9    that. But it's not going to be 10,000 pages, for sure.
   10   indication that anyone believed that this was IARC's property.                   10         THE COURT: Some light reading over the winter holiday?
   11   And apparently the documents that you have from Dr. Rusyn also                   11         Your view would be that I just -- I should deny the motion
   12   contain no indication that anybody believed that this was IARC's                 12   to quash, just as -- to the extent we're talking about the WHO
   13   property. So, but the IARC is asserting that it's IARC's                         13   folder.
   14   property. But IARC isn't here, and IARC has decided not to file                  14         MR. HOLLINGSWORTH: Yes. If Your Honor seeks --
   15   something in this court in response to this subpoena.                            15         THE COURT: But is there any more information that you can
   16     So the question is: What should I do now? I mean, what --                      16   give me in support of your argument that this is not the IARC's
   17   like, is there anything more that I can do to develop a better                   17   property?
   18   understanding of whether there is a colorable argument or a                      18         MR. HOLLINGSWORTH: I think if Your Honor asks for the WHO
   19   reasonable argument that this is, in fact, IARC property? I                      19   or IARC's position on this, Your Honor will receive the same
   20   mean, are there any further submissions that anybody can make on                 20   kind of letter that Your Honor has already read, which does not
   21   that to help me make my decision? Or do I have to make the                       21   meet the standard under the statute that we are all here
   22   decision based on the limited information that I have now?                       22   concerned about, in my opinion, based on what we have already
   23     MS. FUCHS: Your Honor, we could reach out to the World                         23   provided to Your Honor this morning.
   24   Health Organization, and now that we have narrowed it to this                    24         So I don't think that they can do anything more than what is
   25   one folder, ask, you know: Are there things in this folder that                  25   a totally post hoc attempt to claim property and asset rights on



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   1    you believe or don't believe are IARC property?                                  1    this, which they don't have. And if they did have, they've long
   2      And, you know, potentially -- you know, again, we thought                      2    since given up. And if they had such --
   3    that they were going to participate, and they didn't. So I'm                     3          THE COURT: Well, what --
   4    not sure how far I will get.                                                     4          MR. HOLLINGSWORTH: Excuse me. Excuse me.
   5      But I assume, based on what they said in this letter                           5          THE COURT: Go ahead. Go ahead.
   6    (Indicating), that if we send them these documents, they will                    6          MR. HOLLINGSWORTH: The United States was invited to be here
   7    tell us their position. And, you know, it's possible that --                     7    this morning, the Department of State. They decided not to be
   8    because, you know, they -- they don't have the documents,                        8    here. The IARC was invited to be here this morning to make this
   9    apparently.                                                                      9    assertion. They decided not to be here.
   10     So, it's possible that they will say, you know, we --                          10         I think it's an issue that they don't want to be associated
   11     THE COURT: They don't have the documents, but it's their                       11   with losing. And with all respect, I think that they should
   12   property.                                                                        12   lose on this, at this point.
   13     MS. FUCHS: But it's their property. Well, maybe they do                        13         THE COURT: What about the assertions that you've made to me
   14   have -- let me rephrase.                                                         14   about the absence of any indication in the materials you've
   15     They probably do have the documents. Most of them are -- I                     15   received from other IARC scientists that any -- there was any
   16   guess they don't know which documents the University has,                        16   attempt to restrict the dissemination of these documents, or any
   17   especially because of the relationship between Dr. Rusyn in his                  17   attempt to assert confidentiality with respect to those
   18   individual capacity in the University, there may be things that                  18   documents? I mean, so far, what I have is your verbal
   19   Dr. Rusyn has that the University doesn't have.                                  19   assertion.
   20     I don't -- my guess is that IARC doesn't know what the                         20         MR. HOLLINGSWORTH: Yes.
   21   University has. They probably do have copies of all the                          21         THE COURT: And I believe you. But is there any mechanism
   22   documents, but not in the -- not in the format that -- you know,                 22   by which you can sort of present evidence of that to me?
   23   they don't know which ones of those documents are in the                         23         MR. HOLLINGSWORTH: Yes.
   24   University's possession.                                                         24         THE COURT: That I could use to rely on in my ruling?
   25     THE COURT: So roughly how many pages are in this WHO                           25         MR. HOLLINGSWORTH: Yes. We will provide an affidavit on




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   1    that, Your Honor.                                                             1      MR. HOLLINGSWORTH: All right, Your Honor.
   2      THE COURT: Okay.                                                            2      THE COURT: And then any -- you know, sort of anything else
   3       MR. HOLLINGSWORTH: We will go back through the documents                   3    that you have on why or -- you know, why you think it isn't
   4    that we have from Dr. Blair and Dr. Ross, which number in the                 4    their property. I think we've probably covered everything. So
   5    thousands, and make sure that there is no claim of privilege or               5    that will be due on January 5th.
   6    any limitation on the disclosure or dissemination of those                    6      And then I think what I would like, you know -- I mean, we
   7    materials. I don't think there's any. And, by the way, they                   7    don't want to like cause an international incident here, right?
   8    were disseminated over the internet. So --                                    8    So why don't you file a response to their submission.
   9      THE COURT: What do you mean, they were disseminated over                    9      MS. FUCHS: Yes, Your Honor.
   10   the internet?                                                                 10     THE COURT: And why don't do you that the following week.
   11      MR. HOLLINGSWORTH: They were disseminated via electronic                   11     MS. FUCHS: Yes, Your Honor.
   12   communication. I shouldn't have said "the internet." Although                 12     THE COURT: So, like, the next Thursday, the 12th. And in
   13   I wouldn't be surprised, if I attempted to look on the internet,              13   the meantime, you know, what I would appreciate your doing is,
   14   that I could find some of these materials, with all respect. I                14   you know, working with Dr. Rusyn on, you know, you know, and
   15   haven't done that.                                                            15   working with the IARC on what these, you know, what these
   16      So my comments went to what we have from several thousand                  16   documents are and why they should be considered IARC's property.
   17   documents from Dr. Blair and Rawson. I believe that the answer                17     MS. FUCHS: Yes, Your Honor.
   18   to Your Honor's question is no. But I'll confirm that, and then               18     THE COURT: And I think IARC merely asserting now that this
   19   provide an affidavit if an attorney affidavit is adequate for                 19   is its property, you know, is a little bit unsatisfying.
   20   Your Honor's purposes. Or I can provide some other kind of                    20     MS. FUCHS: Yes, Your Honor.
   21   affidavit, such as an IT professional.                                        21     THE COURT: And it would be interesting to know if there is
   22     THE COURT: Yeah, I don't know. I mean, I assume between an                  22   any contemporaneous evidence indicating that this was treated as
   23   IT professional and an attorney, that --                                      23   IARC's property.
   24      MR. HOLLINGSWORTH: Maybe two affidavits.                                   24     MS. FUCHS: Absolutely.
   25     THE COURT: A distinction without a difference. But I'll                     25     THE COURT: And that the people involved believed that it



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   1    sort of leave that to you to figure out what is the best way to               1    was IARC's property.
   2    present that.                                                                 2      MS. FUCHS: Your Honor, I would be happy to reach out to
   3       MR. HOLLINGSWORTH: All right, Your Honor. Thank you.                       3    both IARC and Dr. Rusyn, and get any information I can for you.
   4      THE COURT: But if you could make a presentation, sort of a                  4      THE COURT: Okay. And, and you can file -- you can file a
   5    supplemental presentation about that, that would be good.                     5    response on the 12th. And then I'll rule on the issue.
   6       MR. HOLLINGSWORTH: Thank you.                                              6      MS. FUCHS: Yes, Your Honor. And is my understanding
   7      THE COURT: When do you want to do that by?                                  7    correct that the subpoena has been narrowed to essentially what
   8       MR. HOLLINGSWORTH: Getting that done before the end of this                8    is in the first folder?
   9    week, because of the holiday, early next week may not be                      9      THE COURT: Yes.
   10   possible, but during the -- during the mid -- mid to late next                10     MS. FUCHS: Thank you, Your Honor.
   11   week before the New Year's holiday. So some time next                         11     THE COURT: And what I would like to ask you to do, if you
   12   Wednesday, Thursday or Friday.                                                12   don't mind, is I want to -- and the way I would like to proceed
   13     THE COURT: You know, I'm just having the vision of some                     13   for the rest of our session is I would like to talk to you all a
   14   poor associate who works for you --                                           14   bit about scheduling. And then I would like to take a short
   15      MR. HOLLINGSWORTH: No, I'll be the one who's doing it,                     15   break.
   16   myself, Your Honor. No, I'm just kidding. I'm being facetious                 16     And I -- you know, I don't think we will take too long to
   17   about that.                                                                   17   talk about scheduling, but I'm wondering if you could stick
   18     THE COURT: Why don't we do it, why don't we have the                        18   around until just after our break, because I want to sit in the
   19   deadline be a little bit later.                                               19   quiet of my chambers for a few minutes and think if I have any
   20      MR. HOLLINGSWORTH: Okay, fine. How about the deadline, the                 20   other questions for you or any other directives for you.
   21   Thursday after the New Year's holiday? Which I think would be                 21     MS. FUCHS: Absolutely, Your Honor.
   22   three, four, five, six --                                                     22     THE COURT: Appreciate that. Okay. So you can go ahead and
   23     THE COURT: The 5th, I think?                                                23   have a seat wherever you are comfortable.
   24      MR. HOLLINGSWORTH: The 5th.                                                24     MS. FUCHS: Thank Your Honor.
   25     THE COURT: Yeah, okay. That sounds good.                                    25     THE COURT: And why don't we talk briefly about scheduling,




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   1    and then we'll take a break, and then talk about the deposition                1      THE COURT: And, and IARC told Jameson to not provide them
   2    protocol and then anything else that you want to talk about.                   2    to the other side?
   3      MS. WAGSTAFF: Your Honor, before --                                          3      MS. WAGSTAFF: Well, the timeline -- and again, I didn't
   4      THE COURT: You want to be heard on the --                                    4    know this was going to be on the agenda. But the timeline, they
   5      MS. WAGSTAFF: Just one moment.                                               5    subpoenaed Dr. Jameson, who is in Florida. And Doctor -- and we
   6      THE COURT: Sure.                                                             6    had recently retained him as an expert witness.
   7      MS. WAGSTAFF: (Inaudible)                                                    7      So I wrote a letter to Mr. Hollingsworth and/or his
   8      (Reporter interruption)                                                      8    colleagues, and asked them to withdraw the subpoena as he was
   9      MS. WAGSTAFF: Aimee Wagstaffe for the Plaintiffs.                            9    now a retained expert. And then they responded and said they
   10     And we have stayed out of this, but if we could just ask                     10   just want the documents that relate to his un-retained expert
   11   that we be provided those documents, this week, so that we can                 11   work.
   12   have a chance to review them before the affidavit is filed on                  12     We said okay. But we don't represent Dr. Jameson with
   13   the 5th, that would be great.                                                  13   respect to the subpoena. And then we said we would -- because
   14     THE COURT: I assume it would be subject to some sort of                      14   he's an expert for us, we would facilitate the transfer of
   15   protective order.                                                              15   information, is basically how it went.
   16     MR. LASKER: Your Honor, actually, we would be happy                          16     Dr. Jameson sent us documents. We Bates labeled them. We
   17   (Inaudible)...                                                                 17   made it very clear to the Hollingsworth firm that we weren't
   18     (Reporter interruption)                                                      18   representing him. And then Dr. Jameson writes to us and says:
   19     MR. LASKER: I'm sorry.                                                       19   I received this letter telling me not to produce these
   20     We just produced the last set of those, I think, a couple                    20   documents. I'm guessing it may be similar to something that the
   21   days ago. So you do have the documents already.                                21   attorney for the Texas A&M just received, but I don't have that
   22     MS. WAGSTAFF: Okay, great.                                                   22   letter in front of me.
   23     THE COURT: All right. And yeah, you're free to --                            23     So we wrote to them and we said we will keep these documents
   24     MR. HOLLINGSWORTH: In exchange -- excuse me.                                 24   exactly how they were produced to us. We will not destroy them.
   25     THE COURT: Yeah. I was just going to say you're free to                      25   We will keep them so that when you want to go to the Court to



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   1    file something on this, if you would like.                                     1    seek motion to compel or production or however you would like to
   2      MS. WAGSTAFF: I'm not sure I would like.                                     2    receive them, they will be here in case the Court orders
   3      MR. HOLLINGSWORTH: I was going to suggest that in exchange                   3    production.
   4    for that perhaps she can provide us with the documents that she                4      And that's sort of where we left it. And this was sort of
   5    has from Dr. Jameson which he thought were responsive to our                   5    sprung on us today, with no indication that this would be
   6    subpoena, which is identic- -- similarly -- similar or identical               6    brought up.
   7    to the factual situation with Dr. Rusyn.                                       7      THE COURT: Well, the last part is not particularly
   8      THE COURT: He's an expert of yours? That's their expert?                     8    relevant. And the comments about Jameson were relevant to the
   9      MR. HOLLINGSWORTH: Yes.                                                      9    issue that we're discussing.
   10     MS. WAGSTAFF: Your Honor, they did subpoena Dr. Jameson.                     10     Okay. Well, I'm not going to order anything regarding
   11   And I wasn't prepared to talk on this, because it wasn't on the                11   Jameson's documents right now. I first want to get this motion
   12   agenda today.                                                                  12   to quash resolved. So, okay.
   13     But I do recall that Dr. Jameson received a letter either                    13     Regarding scheduling, what I was thinking, we have pending
   14   from IARC or from who honestly I can't remember right now,                     14   this, you know, need, I think, to set deadlines with respect to
   15   saying not to produce the documents. So I think that this needs                15   document custodians in these other groups. And, you know,
   16   to be either formally set on an agenda, or allow me to review                  16   here's what I want to propose to you. Deadline for scheduling
   17   sort of why we didn't produce those documents.                                 17   depositions of Group B people would be the next case-management
   18     THE COURT: So let me just clarify. So Jameson is your --                     18   statement.
   19   is one of your experts. Correct?                                               19     (Noise from adjoining area)
   20     MS. WAGSTAFF: That's correct, Your Honor.                                    20     THE COURT: Sorry, we -- prisoners are transported in that
   21     THE COURT: Jameson is one of the IARC scientists?                            21   room, so sometimes it gets a little loud.
   22     MS. WAGSTAFF: That's correct, Your Honor.                                    22     So my idea was to have our next case-management conference,
   23     THE COURT: Okay. And Jameson provided you with all his                       23   like, on January 25th or January 27th. Those were the dates
   24   IARC documents.                                                                24   that I was -- that I was pondering.
   25     MS. WAGSTAFF: Yes.                                                           25     And the deadline for scheduling depos of the Group B people




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   1    would be the filing date of the case-management statement for                  1          So assuming that that is timely responded to, and responded
   2    the next case-management conference. So that I know that you                   2    to fully, I think we would have no problem meeting your February
   3    have scheduled those depositions, and you are not waiting to                   3    1st deadline of requesting additional custodial files. But if
   4    take 20 people's depositions in the last week of the discovery                 4    any hitch goes off with that, we --
   5    period.                                                                        5          THE COURT: What is your agreed-upon deadline for responding
   6      MS. WAGSTAFF: (Nods head)                                                    6    to that?
   7      THE COURT: And then the deadline for identifying to                          7          MS. WAGSTAFF: Well, you know, we had sort of assumed that
   8    Monsanto anybody in Group E who you would want -- whose                        8    it would be like an interrogatory type thing, so 30 days. If
   9    documents you would want would be February 1st.                                9    Your Honor would like to -- we hadn't talked about anything
   10     If there's any dispute about whether those people should be                  10   shorter than that, and I was actually negotiating it with
   11   in Group E, that I would envision would be discussed in the next               11   Ms. Stewart and Ms. Pigman, but I had assumed it would be 30
   12   case-management statement, and would require a very, very                      12   days.
   13   detailed justification for including someone in Group E.                       13         THE COURT: Okay. I think we should have it be sooner than
   14     And I would anticipate that the next case-management                         14   that.
   15   conference would be March 1st. And so the case-management                      15         MS. WAGSTAFF: Okay.
   16   statement -- no, sorry.                                                        16         THE COURT: First of all, what's your -- so what is this,
   17     February 22nd, is that what we talked about?                                 17   what is this, you're --
   18     THE CLERK: (Nods head)                                                       18         MS. WAGSTAFF: It's --
   19     THE COURT: February 22nd. And so the case-management                         19         THE COURT: How do you describe what you're going to submit
   20   statement would be due some time before then. And by that time,                20   to them?
   21   you would have in that case-management statement which would be                21         MS. WAGSTAFF: This isn't the official name of it, but it's
   22   due a few days before February 22nd, you would have to identify                22   sort of a 30(b)(6) corporate structure deposition by written
   23   anybody who you would want to include in Group E. And if                       23   question.
   24   there's a dispute about it, include a detailed justification in                24         So the way that it will look, you know, will be: Who was in
   25   the case-management statement.                                                 25   charge of this role for these following years? And assuming



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   1      And then also in that same case-management statement that                    1    that there's no objection, and that they timely respond, we will
   2    would be due in mid-February, that would be the deadline for                   2    have no problem meeting your February 5th deadline.
   3    scheduling depos of people in Groups C and D. And if there was                 3          And this is an agreement we've had with the Hollingsworth
   4    a dispute about whose deposition would need to be taken in                     4    firm on how to treat -- gather this sort of information, for a
   5    Groups C and D, there would again in that case-management                      5    while now.
   6    statement need to be a detailed justification for the taking of                6          THE COURT: Okay, and when are you filing that? When are
   7    those depositions along the lines of what I described in my --                 7    you serving that?
   8    in the order, Pretrial Order No. 3, I think it was.                            8          MS. WAGSTAFF: I was going to serve it between the week of
   9      So all of that might have been a little confusing. And we                    9    Christmas and New Year's. So, by the end of the year.
   10   can go over the dates again. But how does that grab you for                    10         THE COURT: So the deadline for that will be --
   11   scheduling?                                                                    11         MS. WAGSTAFF: I can do December 30th.
   12     MS. WAGSTAFF: Your Honor, speaking for the Plaintiffs, we                    12         THE COURT: December 30th. All right. And then the
   13   would prefer to have the next conference be January 27th. The                  13   deadline to respond to that I think should be around, you know,
   14   reason for that is that we have one of the Group A depositions.                14   January 21st or something like that. I don't know what day that
   15     THE COURT: I noticed that, yeah.                                             15   is.
   16     MS. WAGSTAFF: And so we would like to get through that,                      16         THE CLERK: The 20th or 23rd.
   17   before -- in case anything comes up, have some time with you the               17         THE COURT: January 23rd is the deadline to respond to that.
   18   next day.                                                                      18         MS. WAGSTAFF: And, Your Honor, that will work, assuming
   19     The parties have made an agreement that kind of we've drug                   19   there's no objections. Can we meet and confer about objections
   20   through from the Hardeman case, that we will do sort of a                      20   before? I would hate for them to bring objections for the first
   21   30(b)(6) corporate deposition, corporate structure deposition                  21   time on the 23rd, and then we have eight days to try to figure
   22   through written question, which we are going to serve on                       22   that out. So, I don't know, maybe objections by January 5th or
   23   Monsanto this year, in 2016, basically saying: Who, who played                 23   something?
   24   this role, and in what years, to help us identify further                      24         And we could, if Your Honor would be willing, get on a
   25   custodian files that we may need.                                              25   telephone call with you to resolve any objection that we may




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   1    have as to the scope of our questions. I don't anticipate that                  1    figure out -- you wanted to sort of leave it to yourselves to
   2    I would ask objectionable questions.                                            2    figure out the order in which you take depositions. And maybe,
   3       THE COURT: Deadline for objections, January 5th.                             3    you know, it would be better to take somebody's deposition in
   4       MS. WAGSTAFF: And while we're on the --                                      4    Group C before you take somebody's deposition in Group B, or
   5       MR. HOLLINGSWORTH: So we receive her questions on                            5    whatever. But I'm more concerned about not having enough time
   6    December 30th, and then we have to respond with whatever we                     6    to take the depositions.
   7    object to, based on an initial review, by January 5th?                          7       So, you have decided you want to take three -- I think three
   8       THE COURT: Yeah, or a deadline to meet and confer regarding                  8    depositions of people in Group B? Is that right?
   9    objections.                                                                     9       MS. WAGSTAFF: I believe that's correct.
   10      MR. HOLLINGSWORTH: Okay. How about the deadline to meet                      10      THE COURT: Okay. And so, as I said, in the next
   11   and confer on January 5th? Thank you.                                           11   case-management statement I want to know when those dates --
   12      MS. WAGSTAFF: Part and parcel of that agreement that we                      12   when those depositions are scheduled. And I think they should
   13   made with the Hollingsworth firm, we also did an agreement on                   13   be completed before a certain date. Like, I think it would be
   14   electronic -- electronically-stored discovery. We agreed not to                 14   reasonable to say you should complete those three depositions in
   15   put our -- their deponent under oath and do a formal deposition.                15   February, for example.
   16   We did an informal meeting. And part of our agreement was that                  16      MS. WAGSTAFF: We can certainly do that, if it would provide
   17   I would give them my notes, they would edit it, and get it back                 17   more comfort to Your Honor. Our preference would be just to
   18   to me. And then we would finalize it and figure out what we                     18   have a date that all depositions must be done. But I understand
   19   needed to know about ESI, and where documents were stored and                   19   the helpfulness of having sort of roadblocks, and we would be
   20   that sort of thing, and where we needed to go look for                          20   willing to do that.
   21   information.                                                                    21      THE COURT: It would provide for more comfort for me if you
   22      Sorry.                                                                       22   took those three depositions in February. So I'm going to
   23      We were hoping that if -- we gave them our notes back in                     23   require that you do that.
   24   September. And we --                                                            24      MS. WAGSTAFF: Okay. And I would just ask if there's ever a
   25      THE COURT: I'm sorry; I just don't understand what you are                   25   particular deponent that we want to wait until the end, we would



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   1    talking about. Sorry.                                                           1    just ask for an exception to take it out of time or something
   2       MS. WAGSTAFF: Okay. So instead of doing a 30(b)(6) of ESI,                   2    like that.
   3    which is sort of a typical first stage before discovery, we                     3       MR. HOLLINGSWORTH: What does that mean?
   4    agreed with the Hollingsworth firm that that wasn't necessarily                 4       MS. WAGSTAFF: It means that if -- for example, Dan Jenkins,
   5    an adversarial deposition; we just wanted information. So we                    5    who's a Group B, if we for some reason felt that it would be in
   6    agreed to have our ESI expert and their ESI expert meet and sort                6    our best interest to take him as one of the last depositions, I
   7    of come up with how ESI has been stored, and where we should go                 7    would ask Judge Chhabria if I could please take him in April or
   8    look for it to sort of target our discovery. And we have                        8    March instead of in February.
   9    re-energized that agreement.                                                    9       THE COURT: Yeah. And I would be reluctant to do that,
   10      So I'm just asking for deadlines to make that happen. And                    10   unless you came to me and said: We've scheduled a bunch of
   11   the process was that we would give the Hollingsworth firm                       11   other people in February anyway.
   12   Plaintiffs --                                                                   12      MS. WAGSTAFF: Right.
   13      THE COURT: Okay. During the break, you should be able to                     13      THE COURT: So we're not sitting around, twiddling our
   14   sit down with each other and figure out those deadlines.                        14   thumbs. I mean, I know you won't be sitting around twiddling
   15      MS. WAGSTAFF: Okay, we can do. I see your eyes kind of                       15   your thumbs. But I -- you know, what I'm -- you know. I think
   16   glaze over when we talk about ESI.                                              16   it is a very reasonable schedule we set, but I am uncomfortable
   17      THE COURT: Well, plus, I mean, you're all in the same room;                  17   with the idea of not making progress along the way with this
   18   you can -- you should be able to sit down and figure out those                  18   stuff.
   19   deadlines. If you can't, after the break, I'm happy to try to                   19      So, you know, and then I think, you know, we may -- at the
   20   prevent my eyes from glazing over when you talk to me about it                  20   next case-management conference, we may set, you know, further
   21   again.                                                                          21   deadlines. So we might say anybody you want to depose in
   22      MS. WAGSTAFF: Okay.                                                          22   Group C, you know, or D, or whatever, has to be done by, you
   23      THE COURT: And then the other thing is I think I want there                  23   know, April -- March 20th or something like that. But we can
   24   to be a deadline for taking depositions. You had previously                     24   talk about that at the next case-management conference.
   25   expressed a bit of opposition to that. Because you wanted to                    25      So how does that schedule sound? So the idea would be the




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